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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                              )
                                                )
       Plaintiff,                               )   Civil Action Case No. 4:18-cv-00207
                                                )
v.                                              )
                                                )
JOHN DOE subscriber assigned IP address         )
172.4.64.27,                                    )
                                                )
       Defendant.                               )
                                                )

                        PLAINTIFF’S NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE, Plaintiff, Malibu Media, LLC, has settled this matter with

Defendant, John Doe subscriber assigned IP address 172.4.64.27 (“Defendant”) through his

counsel, Robert Cashman. Upon satisfaction of the terms of the parties’ settlement agreement, to

which Defendant still has executor obligations, Plaintiff will dismiss Defendant from this action

with prejudice.

       Dated: April 24, 2018                        Respectfully Submitted,

                                                    By: /s/ Paul S. Beik
                                                    Paul S. Beik
                                                    Texas Bar No. 24054444
                                                    S.D. Tex. ID No. 642213
                                                    BEIK LAW FIRM, PLLC
                                                    8100 Washington Ave., Suite 1000
                                                    Houston, TX 77007
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                                                    ATTORNEY FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on April 24, 2018, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and

interested parties through this system.
                                                            By: /s/ Paul S. Beik
                                                               Paul S. Beik




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